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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS

Civil Action No. __________

UNITED STATES OF AMERICA,

                      Plaintiff,

               v.

MORGAN STANLEY CAPITAL GROUP INC.,

                      Defendant.


                     STIPULATION OF SETTLEMENT AND ORDER

       WHEREAS Plaintiff United States of America, by authority of the Attorney General of

the United States and acting at the request of the United States Environmental Protection Agency

(“EPA”), filed a Complaint against Defendant Morgan Stanley Capital Group Inc. (“MSCG”)

pursuant to Sections 211(d) and 205(b) of the Clean Air Act, 42 U.S.C. §§ 7545(d) and 7524(b),

to recover penalties relating to Defendant’s production of reformulated blendstock for oxygenate

blending (“RBOB”) that did not meet the applicable volatile organic compound (“VOC”)

reduction standards of the EPA’s reformulated gasoline (“RFG”) program as required by

Sections 211(c) and (k) of the Clean Air Act and 40 C.F.R. § 80.65(i)(3)(i);

       WHEREAS on June 2, 2015, and August 21, 2015, Defendant self-disclosed the

violations alleged in the Complaint to the EPA under the EPA’s Incentives for Self-Policing:

Discovery, Disclosure, Correction and Prevention of Violations (“Audit Policy”), 65 Fed. Reg.

19,618 (April 11, 2000);
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        WHEREAS the EPA has determined that Defendant has met all nine conditions set forth

in the Audit Policy and is therefore eligible for mitigation of gravity-based penalties that could

otherwise be assessed;

        WHEREAS Plaintiff and Defendant have agreed that settlement of this matter is in the

public interest and that entry of this Order without further litigation is the most appropriate

means of resolving this matter;

        WHEREAS Defendant denies the allegations in the Complaint and does not admit that it

has any liability to the United States arising out of the transactions or occurrences alleged in the

Complaint; and

        NOW THEREFORE, before the taking of any testimony, without adjudication or

admission of any issue of fact or law, and upon consent and agreement of the Parties to this

Stipulation, it is hereby AGREED, STIPULATED, and ORDERED:

        1.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331, 1345 and 1355 and 42 U.S.C. §§ 7524 and 7545.

        2.      The obligations of this Stipulation apply to and are binding upon the United States

and upon the Defendant and its successors. Any change in Defendant’s ownership or corporate

status shall not alter its obligations hereunder.

        3.      Defendant MSCG shall pay to the United States of America a total penalty of

$1,119,000 not later than thirty calendar days after entry of this Stipulation as an Order of the

Court. Payment of this amount shall be made to the United States by electronic funds transfer

(“EFT”) to the U.S. Department of Justice lockbox bank, referencing the DOJ file number 90-5-

2-1-11758. Payment shall be made in accordance with the instructions provided by the United

States to MSCG upon entry of this Stipulation. Payment by EFT must be received by the U.S.



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Department of Justice lockbox bank by 11 a.m. to be credited on that day. A copy of the EFT

transmittal notice shall be delivered to:

       Director, Air Enforcement Division
       U.S. Environmental Protection Agency
       1200 Pennsylvania Avenue, N.W.
       Mail Code: 2242A
       Washington, D.C. 20460

       and

       Chief, Environmental Enforcement Section
       Environmental and Natural Resources Division
       U.S. Department of Justice
       P.O. Box 7611
       Ben Franklin Station
       Washington, D.C. 20044-7611
       Re: DOJ #90-5-2-1-11758

       4.      Within ten (10) business days of receipt of MSCG’s payment referred to above,

the United States shall file a notice with the Court, indicating that payment has been received,

and that the United States’ claims against MSCG alleged in the Complaint are dismissed with

prejudice, with each party bearing its own costs and attorney fees.

       5.      In the event that Defendant does not comply with the payment obligations of

Paragraph 3 above, it shall be in violation of this Stipulation and shall pay a stipulated penalty to

the United States in the amount of three thousand dollars ($3,000) per day for each day that the

civil penalty remains unpaid. Stipulated penalties shall accrue regardless of whether Defendant

has been notified of a violation or demand for payment by the United States. Stipulated penalties

shall be paid in the same manner as that provided for in Paragraph 3 above for payment of the

civil penalty. Further, interest shall continue to accrue on the unpaid balance of civil and/or

stipulated penalties in accordance with 28 U.S.C. § 1961 commencing on the date that such

penalties are due and continuing until paid. If payment specified in Paragraph 3 is not made



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when due, then, in addition to other remedies herein, the United States reserves the right to move

this Court to vacate this Stipulation.

        6.      If the payment provided for in this Stipulation is not timely paid, this Stipulation

shall be considered an enforceable judgment for purposes of post-judgment collection of any

unpaid amounts in accordance with Rule 69 of the Federal Rules of Civil Procedure, the Federal

Debt Collection Procedure Act, 28 U.S.C. §§ 3001-3308, and other applicable federal authority.

MSCG shall be liable for reasonable attorneys’ fees and costs incurred by the United States to

collect any amounts past due under this Stipulation.

        7.      This Court shall retain jurisdiction for the purpose of interpreting and enforcing

this Stipulation.

        8.      MSCG’s payment of the civil penalty identified in Paragraph 3 above and any

stipulated penalties and interest required by Paragraph 5 above shall resolve MSCG’s civil

liability to the United States for violations identified in the Complaint.

        9.      MSCG waives any counterclaims against the United States that might have been

filed in this action.

        10.     Subject to Paragraph 8, in any subsequent proceeding brought by the United

States, MSCG shall not assert any defense or claim based upon the principles of waiver, res

judicata, collateral estoppel, issue preclusion, claim-splitting, or other defenses based upon any

contention that the claims raised by the United States in the subsequent proceeding were or

should have been brought in the instant case.

        11.     Nothing in this Stipulation is intended to operate in any way to resolve any civil

claims other than those addressed in Paragraph 8 or any criminal liability of MSCG or its agents,

successors, assigns, or other entities or persons otherwise bound by law.



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        12.     This Stipulation may not be construed to prevent or limit the rights of the United

States to obtain penalties or injunctive relief under the Clean Air Act, or under other federal

laws, regulation, or permit conditions, except as provided in Paragraph 8.

        13.     Civil penalties and any stipulated penalties paid pursuant to this Stipulation are

not deductible by Defendant or any other person for federal tax purposes.

        14.     Nothing in this Stipulation creates, nor shall it be construed as creating, any rights

or claims in favor of any person not a Party to this Stipulation.

        15.     Defendant is responsible for achieving and maintaining complete compliance with

all applicable federal, state, and local laws, regulations, and permits. Except as provided in

Paragraph 8, Defendant’s compliance with this Stipulation is not a defense to any action

commenced pursuant to said laws, regulations, or permits.

        16.     There are no separate agreements or understandings with respect to this matter

that have not been set forth in this Stipulation.

        17.     This Stipulation may be executed by the Parties in separate counterparts, each of

which when so executed and delivered shall be an original, but all such counterparts shall

together constitute but one and the same instrument.

        18.     If for any reason this Court should decline to approve this Stipulation in the form

presented, this Stipulation is voidable at the sole discretion of any Party and the terms of the

Stipulation may not be used as evidence in any litigation between the Parties.

        19.     The Parties hereby agree that, upon the Court’s approval and entry of this

Stipulation, it shall constitute a final Order of the Court.




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                                      ORDER

      As stipulated to and agreed by the parties, IT IS SO ORDERED AND ADJUDGED.




Dated: ______________________                _________________________________
                                             United States District Judge




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THE iJNDERSIGNED PARTIES enter into this Stipulation of Settlement in the matter of United
States v. Morgan Stanley Capital Group Inc.



FOR THE UNITED STATES OF AMERICA:



Dated:
                                         NATHANIEL DOUGLAS
                                         Deputy Chief
                                         Environmental Enforcement Section
                                         Environment and Natural Resources Division
                                         United States Department of Justice



Dated:   ~,~- 1 a   C~                                        ~              ~~v~-
                                          AME D. FREEMAN
                                         E giro ental Enforcement ection
                                         Envi nment and Natural Resources Division
                                         United States Department of Justice
                                         999 18th Street
                                         South Terrace, Suite 370
                                         Denver, Colorado 80202
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 14, 2017, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

served this day on the following party by U.S. Mail:

       Susan Harris
       Sidley Austin LLP
       One South Dearborn
       Chicago, Illinois 60603



                                                       _/s/ James D. Freeman_____________
                                                       JAMES D. FREEMAN
